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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION



DISPLAY TECHNOLOGIES, LLC, a          §
Texas limited liability company,      §
                                      §
       Plaintiff,                     § Case No: 8:20-cv-01828-VMC-TGW
                                      §
vs.                                   §
                                      §
AUDIO PARTNERSHIP, LLC, a Florida     §
corporation,                          §
                                      §
       Defendant.                     §
_____________________________________ §


                       CERTIFICATE OF INTERESTED PERSONS
                      AND CORPORATE DISCLOSURE STATEMENT

       I hereby disclose the following pursuant to this Court’s Order on Interested Persons and

Corporate Disclosure Statement:

1.)    the name of each person, attorney, association of persons, firm, law firm, partnership, and

corporation that has or may have an interest in the outcome of this action — including

subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that own

10% or more of a party’s stock, and all other identifiable legal entities related to any party1 in

the case:

       Patent Asset Management

2.)    the name of every other entity whose publicly-traded stock, equity, or debt may be

substantially affected by the outcome of the proceedings:

       None.




PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS                                                        |1
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3.)    the name of every other entity which is likely to be an active participant in the

proceedings, including the debtor and members of the creditors’ committee (or twenty largest

unsecured creditors) in bankruptcy cases:

       None.

4.)    the name of each victim (individual or corporate) of civil and criminal conduct alleged to

be wrongful, including every person who may be entitled to restitution:

       None.

5.)    Check one of the following:

       _X___ I certify that I am unaware of any actual or potential conflict of interest involving

the District Judge and Magistrate Judge assigned to this case, and will immediately notify the

Court in writing on learning of any such conflict.

               -or-

       ____ I certify that I am aware of a conflict or basis of recusal of the District Judge or

Magistrate Judge as follows: (explain)




PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS                                                      |2
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Dated: August 21, 2020              Respectfully submitted,

                                    /s/ Edward F. O’Connor
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                                    ATTORNEYS FOR PLAINTIFF



                               CERTIFICATE OF SERVICE

      I certified that on August 21, 2020 I served via service of process the foregoing
document to the following non-CM/ECF participants through its registered agent Exportaction
LLC, 4500 140th Ave. North, Ste. 101, Clearwater, FL 33762.

                                    /s/ Edward F. O’Connor
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PLAINTIFF’S COMPLAINT AGAINST DEFENDANT NAMSUNG AMERICA, INC.                                 |3
